                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER

  UNITED STATES OF AMERICA                       )
                                                 )        Case No. 4:16-cr-11
  v.                                             )
                                                 )        Judge Travis R. McDonough
  MICHAEL GREEN                                  )
                                                 )        Magistrate Judge Susan K. Lee
                                                 )


                                              ORDER



          Magistrate Judge Susan K. Lee filed a report and recommendation recommending that

 the Court: (1) grant Defendant’s motion to withdraw his not guilty plea as to Count One of the

 twelve-count Indictment; (2) accept Defendant’s guilty plea as to Count One; (3) adjudicate the

 Defendant guilty of Count One; (4) defer a decision on whether to accept the amended plea

 agreement until sentencing; and (5) order that Defendant remain in custody until sentencing in

 this matter (Doc. 219). Neither party filed a timely objection to the report and recommendation.

 After reviewing the record, the Court agrees with Magistrate Judge Lee’s report and

 recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s

 report and recommendation (Doc. 219) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as

 follows:

       1. Defendant’s motion to withdraw his not guilty plea as to Count One of the Indictment is

          GRANTED;

       2. Defendant’s plea of guilty to Count One is ACCEPTED;

       3. Defendant is hereby ADJUDGED guilty of Count One;




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    4. A decision on whether to accept the amended plea agreement is DEFERRED until

       sentencing; and

    5. Defendant SHALL REMAIN in custody until sentencing in this matter which is

       scheduled to take place on May 4, 2018 at 9:00 a.m. [EASTERN] before the

       undersigned.

    SO ORDERED.


                                         /s/Travis R. McDonough
                                         TRAVIS R. MCDONOUGH
                                         UNITED STATES DISTRICT JUDGE




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